
78 Mich. App. 642 (1977)
261 N.W.2d 30
IN THE MATTER OF THE CONTEMPT OF BALFOUR PEISNER
PEOPLE
v.
JACKSON.
Docket No. 29664.
Michigan Court of Appeals.
Decided September 21, 1977.
Alphonso R. Harper (by Rudy J. Huizenga), for the Recorder's Court Judge.
Balfour Peisner, in propria persona.
*643 Before: BEASLEY, P.J., and V.J. BRENNAN and J.R. McDONALD,[*] JJ.
PER CURIAM.
During the within murder trial, the trial judge found Balfour Peisner, counsel for defendant, in contempt for willfully, persistently and repeatedly violating the ruling of the court, and fined him $150.
The trial judge is empowered to control proceedings in the court and, if necessary, to punish for contemptuous behavior.[1] The issuance of an order of contempt rests in the sound discretion of the trial court and is not reviewable except for abuse of discretion.[2]
Review of the transcript reveals no abuse of discretion here. The contempt finding of the trial judge was fully supported in the record. The conduct in question took place during a jury trial, in the presence of both the trial judge and the jury, and it interfered with the progress of that trial. Immediate punishment properly was imposed by the trial judge outside of the jury's presence.
Affirmed, with costs.
NOTES
[*]  Circuit judge, sitting on the Court of Appeals by assignment.
[1]  MCLA 600.1701; MSA 27A.1701. In re Burns, 19 Mich App 525; 173 NW2d 1 (1969).
[2]  People v Matish, 384 Mich 568; 184 NW2d 915 (1971).

